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12                           UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                No. CR 16-292-JGB-1

15             Plaintiff,                     ORDER

16                    v.

17   MARIYA CHERNYKH, et al.,
     -1) MARIYA CHERNYKH
18
               Defendants.
19

20
          For the reasons contained in the parties’ stipulation it is
21
     hereby ORDERED that the sentencing hearing for defendant MARIYA
22
     CHERNYKH is continued to March 9, 2020 at 2:00 p.m.
23
          IT IS SO ORDERED.
24

25

26   April 26, 2019
     DATE                                    HONORABLE JESUS G. BERNAL
27                                           UNITED STATES DISTRICT JUDGE

28
